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CO 109A - Rev. 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

 

VS.

ETHAN NORDEAN et al

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NOTE FROM JURY

Civil/Criminal No.. _ 21-CR-175 (TJK)

 

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